
Considering the motion for interim disqualification filed by Justice of the Peace Terri M. Crosby, and the concurrence thereto by the Judiciary Commission of Louisiana,
IT IS ORDERED, ADJUDGED AND DECREED that Justice of the Peace Terri M. Crosby, Ward 6, Tangipahoa Parish, State of Louisiana, be and she hereby is disqualified from exercising any judicial function during the pendency of further proceedings in this matter, pursuant to La. Const. art. V, § 25 (C) and Supreme Court Rule XXIII, § 27. This order shall be effective immediately.
IT IS FURTHER ORDERED that the joint motion for expedited consideration be and hereby is granted.
